Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 1 of 7




                                                       EXHIBIT 1
Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 2 of 7
Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 3 of 7
Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 4 of 7
Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 5 of 7
Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 6 of 7
Case 5:16-cv-00911-R Document 1-1 Filed 08/09/16 Page 7 of 7
